Appellate
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                23-1135
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                               UNITED STATES COURT OF APPEALS
                                   FOR THE TENTH CIRCUIT

          ENTRY OF APPEARANCE AND CERTIFICATE OF INTERESTED
                               PARTIES
DARLENE GRIFFITH,

     Plaintiff and Appellant

     v.                                                               Case No. 23-1135
EL PASO COUNTY, COLORADO; BILL ELDER, in his
individual and official capacities; CY GILLESPIE, in his
individual capacity; ELIZABETH O’NEAL, in her
individual capacity; ANDREW MUSTAPICK, in his
individual capacity; DAWNE ELLISS, in her individual
capacity; TIFFANY NOE, in her individual capacity; and
BRANDE FORD, in her individual capacity,

     Defendants and Appellees


                       ENTRY OF APPEARANCE (10th Cir. R. 46.1(A))
        In accordance with Tenth Circuit Rule 46.1, the undersigned attorney(s) hereby appear(s)
 as counsel for:

  See attached: List of Parties Represented as Amici Curiae
                                                [Party or Parties]1

 Amici Curiae                                                               , in the above-captioned
             case(s). [Appellant/Petitioner or Appellee/Respondent]

 Maria Michelle Uzeta
 Name of Counsel
                                                              Name of Counsel
  s/ Maria Michelle Uzeta
 Signature of Counsel                                         Signature of Counsel

  Disability Rights Education & Defense Fund
  3075 Adeline Street, Suite 210, Berkeley, CA 94703
  Tel: (510) 644-2555
 Mailing Address and Telephone Number                         Mailing Address and Telephone Number

 muzeta@dredf.org
 E-Mail Address                                               E-Mail Address


 1
  Counsel must list each party represented. Do not use “et al.” or generic terms such as
 “Plaintiffs.” Attach additional pages if necessary.
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      List of Parties Represented as Amicus Curiae

      1.    Disability Rights Education and Defense Fund
      2.    The Arc of the United States
      3.    Autistic Self Advocacy Network
      4.    Autistic Women and Nonbinary Network
      5.    The Judge David L. Bazelon Center for Mental Health Law
      6.    The Coelho Center for Disability Law, Policy and Innovation
      7.    Civil Rights Education and Enforcement Center
      8.    Disability Law Colorado
      9.    Disability Rights Advocates
      10.   Disability Rights Bar Association
      11.   Impact Fund
      12.   National Association for Rights Protection and Advocacy
      13.   National Disability Rights Network
      14.   Transgender Legal Defense and Education Fund




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       CERTIFICATE OF INTERESTED PARTIES (10th Cir. R. 46.1(D))



 Pursuant to Tenth Circuit Rule 46.1(D), the undersigned certifies2 as follows:

      The following (attach additional pages if necessary) individuals and/or entities are not
        direct parties in this appeal but do have an interest in or relationship to the litigation
        and/or the outcome of the litigation. See 10th Cir. R. 46.1(D). In addition, attorneys not
        entering an appearance in this court, but who have appeared for a party in prior trial or
        administrative proceedings, are noted below.




  X   There are no such parties/attorneys, or any such parties/attorneys have already been

        disclosed to the court.


 August 25, 2023
 Date

 s/ Maria Michelle Uzeta

 Signature




 2 Pursuant to Tenth Circuit Rule 46.1(D)(6), this certificate must be promptly updated if the

 required information changes.

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                                  CERTIFICATE OF SERVICE

 I hereby certify that:

          X
                 All other parties to this litigation are either: (1) represented by attorneys; or
                 (2) have consented to electronic service in this case; or

              On                                        I sent a copy of this Entry of Appearance
                                  [date]
 Form to:



 at                                                                                                  ,


 the last known address/email address, by                                                            .
                                                                 [state method of service]




 August 25, 2023

 Date

 s/ Maria Michelle Uzeta

 Signature




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